Case 2:07-cr-00356-E.]G Document 9 Filed 07/24/07 Page 1 of 2

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A. Ordcr For Detention
Af‘ter conducting a detention hearing pursuant to 18 U_S_C. § 3142(f) of the Bail Reforrn Act1 the Court
orders the above-named defendant detained pursuant to 18 U.S_C. § 3142(e) and (l)

Fl, Statement Ochasons For The Detention
'l' ‘ Courl orders the defendant"s detention because it finds:
di By a preponderance of die evidence that no condition or combination of conditions will
reasonably assure the appearance of the defendant as required
sg` By clear and convincing evidence that no condition or combination of conditions
will reasonably assure the safety of any other person and the community

C. Findings OfFact
'l`hc Cotlrt’s findings are based on the evidence Which was presented in Court and that Which was

§tained in the Pretrial Scrvices Repc)r't1 and includes the following:

(l) Nature and Circun'lstanecs of the offens charged:
pé.\ (a) The criine._ _` ' * /w\»-v-¢O /,\-";¢HMQ_,M...

 

l:l (b) 'l`he offense is a crime of violence.
|'_"| (c) The offense involves a narcotic drug.
l:l (d) The offense involves a large amount of controlled substances
(2) The weight ofthe evidence against the defendant is high.
l'_`l (3`) The history and characteristics of the defendant including:
(a) Gcneral Factors:

l:l 'l`he defendant appears to have a mental condition which may

affect whether the defendant will appear.

`l`he defendant has no known family ties in the area.

The defendant has no known steady employment

'l`hc defendant has no known substantial financial resources

The defendant is not a long time resident ofthe community

"l`hc defendant does not have any known significant community ties.
Past conduct ofthe defendant

 

 

The defendant has a history relating to drug abuse
The defendant has a significant prior criminal record
'l`he defendant has a prior record of failure to appear at court proceedingsl

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Case 2:07-cr-00356-E.]G Document 9 Filed 07/24/07 Page 2 Ofi=Zige 2 ora

Whether the defendant was on probation, parole, or release by a court;
At the time of the current arrest, the defendant was on:
|J [’robation
|:l Parole
ill Rclease pending trial, sentenee, appeal or completion of sentencel

(h) ()ther Factors:
l._l The defendant is an illegal alien and is subject to deportation.
|:| 'i`he defendant is a legal alien and will be subject to deportation if
convicted.

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(4) Rcbuttable Presnmptions
ln determining that the defendant should be detained, the court also relied on the following rebuttable

prcsurnption(s) contained in 18 U.S.C. § 3142(c), Which the court finds the defendant has not

rebutted:

l:| a. (l) The crime charged is one described in § 3142(1')(] ) v_i;.

|:] (A) a crime ofviolence; or
L_.| (B) an offense for which the maximum penalty is life imprisonment or death; or
|:| (C`) a controlled substance violation that has a maximum penalty often years or
more; or
l:| (D) a felony and defendant previously Wa.s convicted of two or more of the offenses
described in (A) through (C) above at_id
(2) Defendant previously has been convicted of one of the crimes listed in Subparagraph
(_1`)(Pi)-(`C.`)1 above an_d
(3) 'l`he offense referred to in subparagraph (2) was committed while defendant was on
release pending trial M
(4) Not more than five years has elapsed since the date of conviction or release from
imprisonment for the offense referred to in subparagraph (2)_
G§!i-~ b. There is probable cause to believe that defendant committed art offense for Wliich a
maximum term o‘|` imprisonment often years or more is prescribed
l:| in the C.ontrolled Substances A.ct_1 21 U.S.C. §§ 801, et scq.,
|:| the Controllcd Substances lmporl and E')tport Act, ill U,S.C. §§ 951, et seq.,
l:l the Maritime Drug Law Enforceinent Act, 46 U.S.C. App. §§ 1901, et seq., or
|:| an offense under 18 'LJ.S.C. §§ 924(c), 956(a), or 2332b.
EE.{__an offense under 18 U.S.C. §§ lZOl7 1591, 2241, 2242,2244(a)(1_),2245,2251`225114,
2252(a)(l)_. 2252(a)(2), 2252(a)(`3), 2252./\_(a)(1), 2252A(a)(2), 2252A(a)(3),
2252A(a)(4), 2260, 2421, 2422, 2423, Or 2425_
Additional l_)ireetives
Pursuant to |B IJ~S_C_ § 3142(i)(2)-(4`), the Court directs that:

'l`he defendant bc committed to the custody ofthe Auomey Gencral for confinement in a corrections
facility separate1 to the extent practicablc, from persons awaiting or serving sentences or being held in
custody pending appea|; and

The defendant be afforded reasonable opportunity for private consultation with his cou.nsel; and

That, on order of a court of the United Statcs, or on request of an attorney for the Government, the
person in charge of the corrections facility in which the defendant is confined deliver the defendant to a
United States Marshal for the purpose of an appearance in connection with a court occedingb

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